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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     IN RE: OUTLAW LABORATORIES, LP                    Case No.: 18CV840 GPC (BGS)
       LITIGATION,
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                                                 .       ORDER RESETTING DEADLINES
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18          1.     The deadline to file a motion for class certification is May 11, 2021.1
19    Counsel for the moving party must follow the Honorable Gonzalo P. Curiel’s Civil
20    Pretrial & Trial Procedures regarding the filing of a motion. Motion papers MUST be
21    filed and served the same day chambers is contacted regarding a hearing date. A briefing
22    schedule will be issued once a motion has been filed. The period of time between the
23    date you request a motion date and the hearing date may vary. Please plan accordingly.
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26    1
       Almost a month ago, on March 30, 2021, Judge Curiel issued an Order directing the
27    Stores to file an amended motion for class certification because the circumstances of this
      case had changed considerably since the original motion for class certification was filed.
28    (ECF 361 at 11-12.)
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 1    Failure to make a timely request for a motion date may result in the motion not being
 2    heard.
 3             2.   The final Pretrial Conference is reset on the calendar of the Honorable
 4    Gonzalo P. Curiel on August 27, 2021 at 1:30pm. The Court will set a trial date during
 5    the pretrial conference. The Court will also schedule a motion in limine hearing date
 6    during the pretrial conference.
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 8             IT IS SO ORDERED.
 9    Dated: April 29, 2021
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